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         UNITED STATES DISTRICT COURT DISTRICT OF MAINE

IRIS LAVERDIERE                         )
           Plaintiff                    )
                                        ) 2:17-cv-00343-JDL
             v.                         )
                                        )
MICHAEL BALCOM, et al,                  )
        Defendants                      )

                       STIPULATION OF DISMISSAL


      NOW COMES the Plaintiff, Iris Laverdiere, by and through her attorney,

and stipulates that all claims against all of the parties in the case are

dismissed without prejudice and with no costs to any party.




                                                /s/ Scott F. Hess
                                          __________________________________
Dated: July 13, 2018                      Scott F. Hess, Esq., (Bar #4508)
                                          Attorney for Plaintiff Iris Laverdiere


                                          /s/    James Fortin
Dated July 13, 2018                       _________________________________
                                          James Fortin (Bar # 2874)
                                          Attorney for Defendant’s Joseph
                                          Fitzpatrick, Scott Landry, and
                                          Amanda Wolford



                                          /s/ Peter J. Cyr
Dated June 13, 2018                       _________________________________
                                          Peter J. Cyr (Bar # 9037)
                                          Attorney for Michael Balcom
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The undersigned hereby certifies that he electronically filed the above
document with the Clerk of Court using the CM/ECF system, which will serve
a copy on all counsel or record.

                                               /s/ Scott F. Hess, Esq.
July 26, 2018                            _________________________________

                                         Scott F. Hess, Esq.




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